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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
Deutsche Bank National Trust Company                            i cASE NutvtsER

                                                                                  2:17-cv-08094 JFW(FFMx)
                                                  PLAINTIFFS)
                                V.
Radka Kroul et al
                                                                     ORDER TO REASSIGN CASE PURSUANT
                                                                         TO GENERAL ORDER 16-05
                                                DEFENDANT(S).


        On      09/25/2017                                ,Civil Case No. 2:17-cv-07065                            was
filed and assigned to Michael W.Fitzgerald

          Pursuant to General Order 16-05, when a newly filed civil case is identified as identical to a previously
filed civil case, pending or closed, the newly filed case shall be transferred to the judge assigned to the previously
filed case.

          Therefore, IT IS ORDERED that:
G~ the above-entitled case be transferred to the calendar of Judge Michael W.Fitzgerald                    for all further
proceedings.
❑ the above-entitled case having been randomly assigned to Jud                                             ,the Clerk
shall reassign the Magistrate Judge assigned to hear any disc ery m               es   at are or maybe referred.

                ~ I I`~~ ~~                               Phili       ie
          Date ~^`                                        Chair, Case Management &Assignment Committee


                                              Notice to Counsel from the Clerk


       Any discovery matters that are or maybe referred to a Magistrate Judge are hereby referred to
Magistrate Judge Charles F. Eick

        On all documents subsequently filed in this case, please substitute the initials MWF(Ex) after the case
number in place of the initials ofthe prior judge so that the case number will read 2:17-cv-08094 MWF(Ex)
This is very important because documents are routed to the assigned Judge by means of the initials.




cc:   ❑Previous Judge    ~ Statistics Clerk

CV-81 (10/16)                     ORDER TO REASSIGN CASE PURSUANT TO GENERAL ORDER 16-OS
